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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                    HAMMOND DIVISION

  UNITED STATES OF AMERICA,                     )
                                                )
                  Plaintiff,                    )
                                                )
         v.                                     )       Case No. 2:15-cr-72
                                                )
  JEREMIAH SHANE FARMER,                        )
                                                )
                  Defendant.                    )

                                      OPINION AND ORDER

         This matter is before the court on the Motion Respectfuly [sic] Requesting All Evidence,

  All Discovery, All Brady Material Pursuant to Federal Rule Crim. P. 12(d)(2), 16(a) All Rule 16

  Material 16(a) and 26.2; Brady v. Maryland [DE 1105] and Motion Respectfuly [sic] Requesting

  Discovery and Inspection [DE 1141] filed by the defendant, Jeremiah Shane Farmer, pro se on

  October 30, 2017 and November 6, 2017. For the following reasons, the motions are DENIED.

                                        Background

         The defendant, Jeremiah Shane Farmer, has been charged in the Third Superseding

  Indictment and the Fourth Superseding Indictment. The grand jury returned a fourth superseding

  indictment in this matter on November 15, 2017. Farmer currently is charged with conspiracy to

  participate in racketeering activity in violation of 18 U.S.C. § 1962(d) and conspiracy to possess

  with intent to distribute and to distribute cocaine, marijuana, and alprazolam in violation of 21

  U.S.C. § 846.

         Farmer has requested discovery pursuant to Federal Rule of Criminal Procedure 16(a), as

  well as Brady, Giglio, and Jencks Act material under 18 U.S.C. § 3500. Additionally, Farmer

  has requested the inspection of all grand jury recorded proceedings and Rule 404(b) evidence.
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  The motions filed by Farmer on October 30, 2017 and November 6, 2017 include many of the

  same discovery requests.

                                         Discussion

         Regarding Farmer’s requests for discovery, the Government has indicated that on

  October 31, 2017, it mailed over 100 disks of Rule 16 discovery and Brady material to Farmer.

  Further, the Government has indicated that it intends to comply with its obligations pursuant to

  Brady, Giglio, and § 3500. It has been held repeatedly that where the Government has made

  assurances it will comply with Giglio and Brady, those assurances are sufficient. See Strickler v.

  Greene, 527 U.S. 263, 283 n. 23, 119 S.Ct. 1936, 144 L.Ed.2d 286 (1999). Farmer also has

  requested that the Government produce all evidence it intends to introduce at trial pursuant to

  Federal Rule of Evidence 404(b). However, Federal Rule of Evidence 404(b) requires only

  “reasonable notice in advance of trial” for the admission of prior convictions and bad acts. A

  deadline will be set at the final pretrial conference.

         Farmer has not demonstrated that the Government has not produced the requested Rule

  16 discovery, nor has he shown a legitimate reason to compel the disclosure of the other

  requested materials. Also, the Government has indicated that it is willing to sit down and outline

  the evidence with Farmer. Based on the Government’s assurances that Farmer has been

  provided Rule 16 discovery and its acknowledgment of its continuing obligations, the court

  denies Farmer’s request for Rule 16 discovery, Rule 404(b) evidence, and Brady, Giglio, and

  Jencks material.

         Farmer has requested the inspection of the grand jury proceedings. Access to grand jury

  materials is tightly regulated under the “long-established policy that maintains the secrecy of the

  grand jury proceedings in the federal courts.” United States v. Procter & Gamble, 78 S.Ct. 983,



                                                     2
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  985, 356 U.S. 677, 681 (1958). The disclosure of grand jury proceedings will be granted only

  upon demonstration by the party seeking disclosure of a “compelling necessity” or “a

  particularized need.” United States v. Lisinski, 728 F.2d 887, 893 (7th Cir. 1984). The court

  finds that Farmer has not demonstrated a compelling necessity or particularized need for the

  disclosure of the grand jury proceedings.

         Based on the foregoing, the Motion Respectfuly [sic] Requesting All Evidence, All

  Discovery, All Brady Material Pursuant to Federal Rule Crim. P. 12(d)(2), 16(a) All Rule 16

  Material 16(a) and 26.2; Brady v. Maryland [DE 1105] and Motion Respectfuly [sic] Requesting

  Discovery and Inspection [DE 1141] are DENIED.

         ENTERED this 15th day of December, 2017.

                                                             /s/ Andrew P. Rodovich
                                                             United States Magistrate Judge




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